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EXHIBIT F
Case 1:04-cv-10981-PBS Document 65-10 Filed 03/25/05 Page 2 of 3

CHAIRMAN:

Judge Wim. Terrell Hodges
United States District Court
Middle District of Florida

UNITED STATES OF AMERICA
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

MEMBERS:

Judge John F, Keenan

United States District Court
Southern District of New York

Judge D, Lowell Jensen
United States District Court
Northern District of California

Judge J. Frederick Motz
United States District Court
District of Maryland

TO INVOLVED COUNSEL

Judge Robert L. Miller, ir. DIRECT REPLY TO:
nited States District Court ic
Northern District of Indiana Michnel ¥B eck

, One Columbus Circle, NE
Judge Kathryn H. Vratil Thurgood Marshall Federal
United States District Court Judiciary Building
District of Kansas Room G-255, North Lobby

Judge David R. Hansen

Washington, D.C. 20002
United States Court of Appeals Telephone: [2021 502-2800
Eighth Circuit Fee | ano RRR

http:/Avww,jpmluscourts.gov

March 15, 2005

Re: MDL-1629 -- In re Neurontin Marketing and Sales Practices Litigation

Assurant Health, Inc., et al. vy. Pfizer, Inc., et al, D, New Jersey, C.A. No. 2:05-95

Dear Counsel:

For your information, I am enclosing a copy of an order filed today by the Judicial Panel on
Multidistrict Litigation involving this matter.

Enclosure

Very truly,

Michael J. Beck

Clerk of the Panel

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Deputy Clerk

JPML Form 34B

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Case 1:04-cv-10981-PBS Document 65-10 Filed 03/25/05 Page 3 of 3
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MAR £5 2005

FILED
CLERK'S OFFICE

DOCKET NO. 1629
BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION -

IN RE NEURONTIN MARKETING AND SALES PRACTICES
LITIGATION

Assurant Health, Inc., et al. v. Pfizer, Inc., et al., D. New Jersey, C.A. No. 2:05-95
ORDER LIFTING STAY OF CONDITIONAL TRANSFER ORDER

A conditional transfer order was filed in this action (Assurant) on February 8, 2005. Prior
to expiration of that order’s fifteen-day stay of transmittal, plaintiffs in Assurant filed a notice
of opposition to the proposed transfer. Plaintiffs subsequently failed to file the required motion
and brief to vacate the conditional transfer order.

IT IS THEREFORE ORDERED that the stay of the Panel's conditional transfer order
designated as “CTO-3” filed on February 8, 2005, is LIFTED insofar as itrelates to this action,
and thus the action is transferred to the District of Massachusetts for inclusion in the coordinated

or consolidated pretrial proceedings under 28 U.S.C. § 1407 being conducted by the Honorable
Patti B. Saris.

FOR THE PANEL:

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Michael J. Beck
Clerk of the Panel

